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                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  CASE NUMBER:


 PRETTY IN PLASTIC, INC.                                            2:18−cv−06091−GW−SK
                                                  Plaintiff(s),

          v.
 MARYELLIS BUNN, et al.
                                                                    NOTICE TO FILER OF DEFICIENCIES IN
                                                Defendant(s).       ELECTRONICALLY FILED DOCUMENTS




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                                                   Clerk, U.S. District Court

 Dated: October 10, 2018                           By: /s/ Margo Mead margo_mead@cacd.uscourts.gov
                                                      Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge

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